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[87fd] [FINAL DECREE]


                                     UNITED STATES BANKRUPTCY COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                             FT. MYERS DIVISION



In re:                                                                      Case No. 9:09−bk−02739−ALP
                                                                            Chapter 7


Jason F McLendon
fdba LA
fdba First Class Cleaning
fdba First Clas Builders
fdba Alico Eleven
fdba Olde Naples Investments
fdba Sharp Investments
fdba Alico Business Park
15831 Delasol Lane
Naples, FL 34110

Tanya R McLendon
15831 Delasol Lane
Naples, FL 34110


________Debtor(s)________/

                                                   FINAL DECREE



   The estate of the above−named debtor has been fully administered.

   IT IS ORDERED THAT:

         − Robert E Tardif Jr. is discharged as trustee of the estate of the above−named debtor and the bond as
         pertains to this case is cancelled;

         − the Chapter 7 case of the above−named debtor is closed.

         DONE AND ORDERED on October 12, 2009 .




                                      ____________________________________________
                                      Alexander L. Paskay
                                      United States Bankruptcy Judge



         *Set forth all names, including trade names, used by the debtor(s) within the last 6 years (Fed. R.
         Bankr. P. 1005). For joint debtors set forth both social security numbers.
